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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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         DEWON D. T., 1                          Case No. ED CV 20-01424-RAO
12
                          Plaintiff,
13
              v.                                 JUDGMENT
14
         KILOLO KIJAKAZI,
15       Acting Commissioner of Social
         Security,
16                       Defendant.
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18
19            In accordance with the Memorandum Opinion and Order filed concurrently

20   herewith,

21            IT IS ORDERED AND ADJUDGED that the decision of the Commissioner

22   of Social Security is AFFIRMED.

23
24   DATED:        October 20, 2021
                                           ROZELLA A. OLIVER
25                                         UNITED STATES MAGISTRATE JUDGE
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27    Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B)
     and the recommendation of the Committee on Court Administration and Case
28   Management of the Judicial Conference of the United States.
